Case 2:13-cr-00041-JLQ   ECF No. 162   filed 10/04/13   PageID.615 Page 1 of 6
Case 2:13-cr-00041-JLQ   ECF No. 162   filed 10/04/13   PageID.616 Page 2 of 6
Case 2:13-cr-00041-JLQ   ECF No. 162   filed 10/04/13   PageID.617 Page 3 of 6
Case 2:13-cr-00041-JLQ   ECF No. 162   filed 10/04/13   PageID.618 Page 4 of 6
Case 2:13-cr-00041-JLQ   ECF No. 162   filed 10/04/13   PageID.619 Page 5 of 6
Case 2:13-cr-00041-JLQ   ECF No. 162   filed 10/04/13   PageID.620 Page 6 of 6
